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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION

DANA D. MOHAMMADI §
§
Plaintiff §

§ CIVIL CASE NO. SA-12-CA-0042 RP
§
AUGUSTINE NWABUISHI, §
ROSE NWABUISI, §
RESOURCE HEALTH SERVICES, INC.§
d/b/a RESOURCE HOME HEALTH §
SERVICES, INC., and RESOURCE §
CARE CORPORATION §
§
Defendant §

DEFENDANTS’ PROPOSED FINDING OF FACTS AND CONCLUSIONS OF LAW

TO THE HONORABLE JUDGE ROBERT L. PITMAN:
1. Procedural Background

1. Plaintiff filed a claim for unpaid overtime and minimum wages under the Fair Labor
Standards Act (“FLSA”) , 28 U.S.C. § 201 et seq.
2. On January 2, 2014 the Court entered its Findings of Fact and Conclusion of Law (Doc.#81)
finding that Plaintiff did work hours for Defendants for which she was not compensated and entered
an order in favor of Plaintiff and against Defendants in the amount of $38,100.49 in unpaid wages,
$38,100.49 in liquidated damages and reasonable attorneys fees and expenses. The Court had
previously had entered an Order on a Motion for Summary Judgment finding the actions of the
Defendants were willful.
3. Defendants appealed the Court’s Final Order which included the Court’ Summary Judgment
Order to the Fifth Circuit Court of Appeals. On March 25, 2015, the Fifth Circuit Court of Appeals

entered an Order holding that this Court’s decision of whether the actions of Defendants were willful
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was a factual question and remanded it to this Court for trial on the merits.

2. Proposed Finding of Facts and Conclusions of Law
3. Resources Health Care Services, Inc. (“Resource”) is based in Houston, Texas.
4, Resource was attempting to expand its operation as a number of contracted clients desired
the services of Resource in San Antonio, Texas.
4, Resource opened a new office in San Antonio, Texas that was initially staffed by three (3)
persons of whom one was the Plaintiff.
5. Each of the three (3) persons to staff the San Antonio office received training in the head
office in Houston, Texas.
6. Plaintiff, who is a Licensed Vocational Nurse (“LVN”) hired to work as a Primary Home
Care (“PHC”) field supervisor for providers and as an LVN case manager. Her responsibilities were
co-ordinating the provision of Primary Care Services (“PCS”) and ensuring efficient and effective
case management.
7. The office in San Antonio for the first couple of years was over staffed and did not have
sufficient clientele for the staff to be fully occupied.
8. When the office opened, Resource installed a system for recording time against which wages
would be paid. A timecard system was utilized.
9. Resource had a policy of paying no overtime unless authorized by management. At no time
did Plaintiff seek authorization from management for overtime. Resource was aware that of
overtime was authorized it would pay time and one-half.
10. It was the policy of Resource for each employee to utilize the timecard system to punch in
and out of work. The standard work day was 8:30 a.m. to 5:00 p.m. with thirty (30) minutes for

lunch, Monday to Friday.
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11. The paid period was the first and fifteenth ofeach month. A system was established whereby
each employee would meet with the office manager of payroll to review their timecard and ensure
that the time on the card was accurately recorded and reflected all time worked. In addition to
timecards, employees could submit claims for reimbursement of expenses, mileage and LVN visit _
sheets. Each employee reviewed these documents with the office manager to ensure all their time
was accurately recorded. If there were any discrepancies the same was noted on the timecards. The
timecards were then faxed to Houston, reviewed by the Houston office and then forwarded them to
a Certified Public Accountant who generated payroll.

12. At no time during her tenure with Resource did Plaintiff complain that she was not being
paid correct hours.

13. Resources utilized outside contracted local LVNs to perform patient visits both before and
after normal work hours. Plaintiff requested that Defendants allow her to undertake LVN patient
visits to earn extra money both before and after work. The standard pay rate for an LVN visit was
$30.00 to $35.00 per visit. Each visit averages forty-five (45) minutes. Resource, believing it was
assisting Plaintiff and, at Plaintiff’ s request, allowed her to perform LVN visits outside of the regular
work hours. Neither Resource nor Plaintiff considered these visits would be counted against the
forty (40) hour work week until this suit.

14. Resources’ patient visits and work are document intensive. Without the necessary
documentation Resource cannot obtain reimbursement from its contracted insurers including the
State of Texas. Plaintiff did not provide documentation to Resource to justify any hours that she
claimed outside the normal business day save and except the LVN visits which neither considered
part of the forty (40) hour week prior to this suit.

15, Resource did not believe that any hours that Plaintiff was working outside business hours as

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an LVN would place Defendants in violation of the FLSA. The State of Texas does not pay or
reimburse Resource for overtime for Providers, so Resource believed that it did not have to pay
overtime for Provider’s visits.

16. Defendants had previously been sued in federal court by a former employee of Defendants
who alleged that Resource had violated her rights under the FLSA by failing to pay overtime, the
work undertaken on that case by both Plaintiff and Defendants was extensive. The case settled for
a nuisance value payment verifying to Resource that its polices, practices and procedures were in

compliance with the FLSA which her then counsel and the settlement of the case confirmed.

17. Resource made loans to Plaintiff, interest free, which demonstrates no intent to harm
Plaintiff. .

CONCLUSIONS OF LAW
18. The employee has the burden of demonstrating willfulness for the three-year limitations

period to apply. See Cox v. Brookshire Grocery, Co., 919 F.2d 354, 356 (5" Cir. 1990).

19. | Neither knowledge of the FLSA’s potential applicability nor negligent or unreasonable
conduct necessarily establishes willfulness, e.g. Mclaughlin v. Richland Shoe Co., 486 U.S. 128,
132-33 (1988); Trans World Airlines, Inc. v. Thurston, 469 U.S. 111, 127-28 (1985); Mireles v. Frio
Foods, 899 F.2d 1407, 1416 (5" Cir. 1990). An employer that “act|s] without a reasonable basis for
believing that it was complying with the [FLSA]” is merely negligent, McLaughlin, 486 U.S, at 134-
35, as is an employer that, without prior notice of an alleged violation, fails to seek legal advice

regrading its payment practices, e.g. Mireles, 899 F.2d. At 1416.

20. Employers act willfully when they know their pay structures violate the FLSA or ignore

complaints brought to their attention. See. e.g. Jkossi-Anastasiou v. Bd. of Supervisors of La. State

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Univ., 579 F.3d 546, 553 $ n.24 (5" Cir. 2009) (citing cases).

21. Failure to consult an attorney, without prior notice of alleged FLSA violations, does not
constitute willfulness. Mireles, 899 F.2d at 1416.

22. ‘Reich v. Newspapers fo New Eng. 44 F.3d 1060, 1079, 2 WH Cases2d 897 (1* Cir. 1995)
(affirming finding of lack of willfulness despite testimony that employees were reprimanded for
reporting more than forty (40) hours per week but employer paid overtime to those employees who
did report hours over forty (40), where employee claimed that it paid for all reported overtime while
discouraging its use.

23. Cox. v. Brookshire Grocery Co. 919 F2d 354, 355, 30 WH Cases 216 (5" Cir. 1990) ; Mireles
v. Frio Foods, 899 F.2d 1407, 1416, 29 WH Cases1265 (5 Cir. 1990) (affirming finding that
violation was not with respect to allegedly illegal waiting time pay practices where employer had
discussed FLSA with state agency and had reviewed some publications on topic; and holding that
failure to sell legal advice, negligence and acting unreasonably do not constitute knowing or reckless
disregard for law.

24. Pabst v. Oklahoma Gas & Elec. Co., 228 F3d 1128, 6WH Cases2d 609 (10" Cir. 2000)
(finding alleged on-call time violation not willful); Gilligan v. City of Emporia, 986 F2d 410, 413,
1 WH Cases2d 425 (10" Cir. 1993) (holding alleged on-call time violation not willful.)

25. Reich v. Department of Conservation & Natural Res. , 28 F.3d 1076, 1084 2 WH Cases2d
385 (11" Cir. 1994) (finding failure of department to police its overtime prohibition for conservation
officers not so reckless that court can overrule district court finding that it was not willful, nut more
akin to negligence.

26. Lopez v. Corporation Azucarera de P.R., 938 F2d 1510, 1515, 30 WH Cases769 (1* Cir.

1991) (finding FLSA violations not willful based on unreasonableness alone); Mills v. Maine, 853

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F, Supp. 551, 555, 2 WH Cases2d 175 (D. Ne. 1994) (holding that more flagrant conduct than
unreasonable behavior is required for finding of willfulness; briefing by DOL and inadequate
monitoring of changes in law unreasonable but not reckless to comply with FLSA in classifying
probation officers as exempt.
CONCLUSION

27. Based on evidence presented Defendants request that based on Defendants’ systems in place
and Defendants’ subjective and objective belief that Defendants were in compliance with the FLSA
this Court find that Defendants’ violations of the FLSA were at best negligent but were not willful,
find that the two (2) year statute of limitations is applicable and adjust the damages accordingly and
in accordance with the Opinion of the Fifth Circuit (Doc. #105) and such other just and equitable

relief to which Defendants may show themselves entitled.

Respectfully submitted;

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CERTIFICATE OF SERVICE

I hereby certify that on this the_| v day of November 2015, a true and correct copy of the
foregoing document was served on each party by my submission of the document to the State District
court through the Court’s efiling system:

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